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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Demetrius Johnson
                                   Plaintiff,
v.                                                      Case No.: 1:20−cv−04156
                                                        Honorable Sara L. Ellis
Reynaldo Guevara, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 1, 2023:


         MINUTE entry before the Honorable Sara L. Ellis: Telephone conference held.
Parties' joint motion to resolve disputes pertaining to the deposition of Plaintiff's expert
Dr. Nancy Steblay [252] is granted as stated on the record. Unopposed motion for leave to
file under seal [253] is granted. Defendants' unopposed motion to extend expert discovery
schedule [255] is granted. Defendants granted (4) four hours to depose Dr. Steblay. As
discussed, the Plaintiffs are required to produce data to Defendants by 6/8/2023. The
Court modifies the summary judgment briefing schedule: Defendants' motion for
summary judgment is due by 11/3/2023; response by 12/4/2023; reply by 1/5/2024.
Ruling date set for 1/10/2024 is stricken and reset to 5/1/2024 at 9:30 a.m. Defendant's
response to Plaintiff's motion for partial summary judgment is due by 6/12/2023;
Plaintiff's reply is due by 6/19/2023. Ruling date set for 8/1/2023 at 9:30 a.m. to stand.
Attorneys/Parties should appear for the hearing by calling the Toll−Free Number: (866)
434−5269, Access Code: 8087837. Throughout the telephonic hearing, each speaker will
be expected to identify themselves for the record before speaking. Please note that the
conference call−in will be used by all cases that are on the court's calendar for the said
date, therefore counsel must be in a quiet area while on the line and must have the
telephone muted until your case is called. Members of the public and media will be able to
call in to listen to this hearing (use toll free number). Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting court proceedings. Violation of these prohibitions may result in sanctions,
including removal of court−issued media credentials, restricted entry to future hearings,
denial of entry to future hearings, or any other sanctions deemed necessary by the Court.
Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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refer to it for additional information.
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web site at www.ilnd.uscourts.gov.
